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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
PARS EQUALITY CENTER et al.,                  )
                                              )
              Plaintiffs,                     )
                                              )
      v.                                      )      Civil Action No. 17-cv-255 -TSC
                                              )
DONALD J. TRUMP et al.,                       )
                                              )
              Defendants.                     )
                                              )



                             ORDER OF PARTIAL DISMISSAL

       In light of Voluntary Dismissal (ECF No. 140) filed by Plaintiff Mohammad Reza Shaeri,

all claims asserted by said plaintiff are hereby dismissed without prejudice.



Date: January 31, 2018




                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge
